                           NO. 07-09-0373-CV

                        IN THE COURT OF APPEALS

                   FOR THE SEVENTH DISTRICT OF TEXAS

                              AT AMARILLO

                                PANEL E

                           SEPTEMBER 27, 2010




                    In the Interest of A.S., a Child
                      ___________________________

          FROM THE 316th DISTRICT COURT OF HUTCHINSON COUNTY;

             NO. 38,213; HONORABLE JOHN LAGRONE, PRESIDING



                           Memorandum Opinion



Before QUINN, C.J., CAMPBELL, J., and BOYD, S.J.[1]
      Tammy Lea Smith (Smith) appeals the termination of  her  parental
rights to her five-year-old daughter A.S. by attacking the  sufficiency
of the evidence underlying the findings  with  regard  to  the  child’s
best interest and the various statutory grounds alleged.  We affirm.
      We initially observe that Smith failed, in both  her  motion  for
new trial or  statement  of  points  on  appeal,  to  allege  that  the
evidence was either legally or  factually  insufficient  to  support  a
finding that termination was  in  the  child’s  best  interest.   Thus,
those complaints were not preserved for review.  See In  re  C.M.,  208
S.W.3d 89, 92 (Tex. App.–Houston [14th Dist.] 2006, no pet.).

      Next, the trial court found  by  clear  and  convincing  evidence
that termination was warranted under §161.001(1)(D), (E), (I), and  (O)
of the Texas Family Code.  If there be sufficient evidence  to  support
the existence of any one  of those grounds, then  we  must  affirm  its
decision.  In re K.C.B., 280 S.W.3d  888,  894-95  (Tex.  App.–Amarillo
2009, pet. denied).
      Next, the record before  us  contained  the  following  evidence.
Smith had been  a  long-time  abuser  of  drugs,  that  is,  marijuana,
methamphetamine, and cocaine.  Each hair follicle drug  test  she  took
during the eighteen months that her daughter was in  foster  care  came
back  positive.   She  further  admitted   to   using   marijuana   and
methamphetamine less than thirty  days  prior  to  trial.   Smith  also
admitted  to  being  arrested  numerous  times  for  possessing  drugs,
shoplifting, or public intoxication.  So too has  she  been  jailed  at
least six times since A.S. was born.  Appellant also moved  frequently,
once had been evicted from her  abode  due  to  her  drug  use,  lacked
electricity in one home, lived a nomadic life with friends, lost a  job
due to drug use, and lived with a boyfriend with whom she  used  drugs.
The latter was also a violent individual and physically  abused  Smith.
According to A.S., her mother’s boyfriend was  responsible  for  a  cut
lip and a mark across her back.  Other men with whom  Smith  had  lived
were also abusive.  And, though she claimed that she was employed  with
a “private” lady, appellant failed to provide proof  of  employment  to
Child Protective Services.  Next, it  appeared  that  A.S.  spent  most
weekends with her purported grandparents, one of  which  described  the
child as being dirty and hungry  whenever  they  picked  her  up.   The
house in which the child lived with her mother  was  further  described
as smelling of marijuana.  A  grandparent  also  testified  that  Smith
oftimes could not  be  awakened  when  the  child  was  returned  home.
Additionally, A.S. told others that she was afraid of her mother,  that
her mother would leave her alone, and  that  she  feared  her  mother’s
boyfriend.  A.S. also asked her foster mother if her husband was  going
to cut her clothes with a knife, if he was going to  throw  the  foster
mother’s possessions out of the window, and why  he  did  not  hit  the
foster mother and her other children.
      Other evidence illustrated that  Smith  failed  to  complete  her
parenting classes or counseling.  So too did  a  psychologist  conclude
that Smith had poor parenting skills and would have  difficulty  caring
for a five-year-old  child.   Finally,  Smith  admitted  that  she  was
unable to care for the  child.   All  of  this  constitutes  clear  and
convincing  proof  that  the  child’s  surroundings   and   environment
endangered A.S.’ physical and emotional well-being.   Thus,  the  trial
court had ample evidence to  support  termination  under  that  ground.
See  Tex.  Fam.  Code   Ann.   §161.001(1)(D)   (Vernon   Supp.   2010)
(termination may  be  warranted  when  a  parent  knowingly  placed  or
knowingly allowed a child  to  remain  in  conditions  or  surroundings
which endangered the physical or emotional well-being  of  the  child).

       Accordingly,  we  overrule  Smith’s  issues   and   affirm   the
termination order.

                                        Brian Quinn
                                        Chief Justice
-----------------------
      [1]John T. Boyd, Chief Justice (Ret.), Seventh Court of  Appeals,
sitting by assignment.  Tex. Gov’t  Code   Ann.  §75.002(a)(1)  (Vernon
2005).



